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OF TEXAS






NO. WR-80,477-01






EX PARTE BERNIE RAY LUCAS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 16984 IN THE 2nd DISTRICT COURT


FROM CHEROKEE COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to fifty years' imprisonment.  The Applicant's appeal was dismissed for want of
jurisdiction.  Lucas v. State, No. 12-09-00346-CR (Tex. App.--Tyler, delivered November 12, 2009,
no pet.).

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  

	The record before us reflects that Applicant was deprived of his right to appeal his conviction
in this case.  Therefore, we find that Applicant is entitled to the opportunity to file an out-of-time
appeal of the judgment of conviction in Cause No. 16984 from the 2nd District Court of Cherokee
County.  Applicant is ordered returned to that time at which he may give a written notice of appeal
so that he may then, with the aid of counsel, obtain a meaningful appeal.  Within ten days of the
issuance of this opinion, the trial court shall determine whether Applicant is indigent.  If Applicant
is indigent and wishes to be represented by counsel, the trial court shall immediately appoint an
attorney to represent Applicant on direct appeal.  All time limits shall be calculated as if the sentence
had been imposed on the date on which the mandate of this Court issues.  We hold that, should
Applicant desire to prosecute an appeal, he must take affirmative steps to file a written notice of
appeal in the trial court within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: November 27, 2013

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